Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 1 of 49




                 EXHIBIT C

   to Brief in support of
  Preliminary Approval of
    Medical Monitoring
   Settlement Agreement
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 2 of 49                            C
                                                                                           Exhibit ___
                                                                                         to Br. in Support of
                                                                                       Preliminary Approval
                                                                                       of Medical Monitoring
                     IN THE UNITED STATES DISTRICT COURT                                   Class Settlement
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 IN RE: PHILIPS RECALLED CPAP, BI-             Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS
 LITIGATION                                    MDL No. 3014

 This Document Relates to:
 All Actions Asserting Claims for Medical
 Monitoring


         DECLARATION OF ORRAN L. BROWN SR. OF BROWNGREER PLC
                      ON PROPOSED NOTICE PLAN

I, Orran L. Brown, Sr., hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

the following is true and correct:

       1.      I have personal knowledge of the matters stated in this Declaration. In forming my

opinions regarding notice in this action, I have drawn from my extensive class action experience,

as described below.

       2.      I have worked in the mass claims area, including class actions, for over 30 years. I

have extensive experience as a lawyer handling class action proceedings, settlements and notices;

as a claims administrator designing and implementing class action settlements; as a notice

administrator designing notice plans and executing notice to claimants and counsel; as a trustee or

special master involved in multiple claim proceedings; and as an educator on class actions and

other complex litigation. My personal biography is attached to this Declaration as Exhibit 1.

       3.      BrownGreer has specialized in notice administration and settlement administration

since my partner, Lynn Greer, and I founded the firm in 2002. We have deep experience in the

legal and administrative aspects of the design, approval, and implementation of notice plans,

                                                1
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 3 of 49




settlement programs and the design, staffing and operation of claims facilities to provide damages

payments, medical monitoring, or other benefits for the resolution of multiple claims through class

action settlement, bankruptcy reorganization, voluntary agreement, or other aggregation vehicles.

We have played major roles in many of the largest and most complex multiple claim proceedings

and multiple claim settlement programs in history, serving as administrators, special masters,

trustees, or settlement counsel. The BrownGreer Firm Overview attached as Exhibit 2 to this

Declaration provides detail on our firm.

       4.      BrownGreer has performed crucial administration or review roles in more than 100

major programs involving the disposition of over $33 billion in payments to qualifying claimants.

In the course of the implementation of claims programs, BrownGreer has designed, written and

issued over 14 million notices to claimants and counsel on the outcome of the review of their

claims. My work as a lawyer and claims administrator regularly involves drafting the text of

notices to known and unknown claimants or members of a class or settlement group, designing the

appearance of such notices to make them concise, clear and understandable, and designing and

implementing the method of distributing such notices in the best practicable manner to the persons

or entities affected by them. In its capacity as a notice administrator, BrownGreer has sent more

than 41 million direct notices by mail and email and has designed and implemented print and

internet publication notice campaigns achieving hundreds of millions of exposures. We have

extensive experience in all aspects of notice and settlement design and implementation, including:

       (a) On countless occasions, I have drafted and overseen the implementation of specific
           campaigns to certain groups of claimants before an existing claims facility to accelerate
           the disposition of stalled claims, to alert claimants to information and materials needed
           to complete their claims to be reviewed for eligibility determinations, and to advise
           claimants of the results of processing steps on their claims.

       (b) I have designed, and we have programmed, tested, hosted and maintained, many
           settlement websites to provide information on programs and containing complex


                                                 2
       Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 4 of 49




            functionality permitting claimants and their counsel to submit claims materials, receive
            notices on claim outcomes, take action on claims, and request materials.

       (c) We have designed, staffed, trained and operated call center systems and automated call
           systems for claimants and counsel to hear information on settlement programs, request
           information on notices and programs, or speak with specialists in the programs.

       (d) I have advised and participated in the implementation of notice programs to known and
           unknown potential claimants or class members, assessed the reasonableness and
           sufficiency of such notice programs, from both practical and legal perspectives, and
           worked with marketing consultants to place public notice in written and broadcast
           media.

       (e) I regularly advise companies and claims administrators and draft individual group
           notices to conform to applicable legal requirements and to make the text and
           instructions provided in such notices comprehensible and as simple as possible.

       5.      BrownGreer has administered, served as experts, and/or otherwise consulted with

settled parties on many notice programs approved as sufficient by the overseeing court, including

programs that required direct notice by mail or email to class members. The Firm Overview

(Exhibit 2) shows our varied administration experience.

                                     SETTLEMENT CLASS

       6.      The Class Settlement Agreement and Release of Medical Monitoring Claims

(“Settlement Agreement” or “Agreement”) defines the Settlement Class as: all individuals in the

United States, 1 including United States citizens, United States residents, and United States

military, diplomatic personnel and employees living or stationed overseas, who have used a

Recalled Device. SA § 1.33.

       7.      Excluded from the Settlement Class are: (a) Defendants and their officers, directors,

and employees; and (b) the MDL Court, Settlement Mediator, and Special Masters assigned to the

MDL.


1
  Pursuant to the Settlement Agreement, the “United States” means the United States of America,
its Territories, and the District of Columbia.

                                                 3
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 5 of 49




                          NOTICE TO THE SETTLEMENT CLASS

       8.      The Settlement Class is proposed to be certified under Rule 23(b)(2) of the Federal

Rules of Civil Procedure. In contrast to notice to a class certified pursuant to Rule 23(b)(3), which

must be “the best notice that is practicable under the circumstances,” notice to a class certified

pursuant to Rule 23(b)(2) need only be “appropriate.” See Fed. R. Civ. P. 23(c)(2).

       9.      Based on my experience, the proposed Notice to the Settlement Class will be more

than appropriate. The proposed Notice (attached to this Declaration as Exhibit 3) will be posted on

the Settlement Website, www.RespironicsMedicalAdvancementProgram.com, the website for the

Economic Loss Settlement, and BrownGreer will request that it be posted on the MDL Court’s

website for the MDL; and it will be disseminated primarily through direct notice, either by mail or

by email (where an email address is available). Notice by mail will be in a HIPAA-compliant

security envelope, which contains a pattern printed on the inside to shield the contents of the

envelope, and the exterior of the envelope will not reveal the medical nature of the litigation.

Notice to the Settlement Class will build upon the resources created in the course of providing

notice of the Economic Loss Settlement to the Settlement Class in December 2023, including the

extensive contact list developed as part of that process.

       10.     The Settlement Administrator for the Economic Loss Settlement, Angeion Group

LLC (ECF 2289 at ¶ 6), developed a Settlement Class List containing postal and email addresses

for users of Recalled Devices based on “data from Philips Respironics for Users who registered in

its Recall Programs, as well as other User information collected by Philips Respironics from DME

providers as part of the Recall.” ECF 2216-3 at ¶ 21; ECF 2657-3 at ¶ 7. For the postal addresses,

the United States Postal Service’s (“USPS”) National Change of Address (“NCOA”) Database



                                                  4
         Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 6 of 49




was used initially to update the addresses. ECF 2657-3 at ¶ 11. All returned items were subject to

further processing which resulted in a majority of returned mailings being resent to updated

addresses. Id. at ¶ 15. In addition, nearly 32,000 additional email addresses were obtained from

Settlement Class Members who submitted their addresses at the Economic Loss Settlement

Website pending preliminary approval of the Economic Loss Settlement. Id. at ¶ 19. BrownGreer

is coordinating with Angeion Group to transfer all information from the Class List to BrownGreer.

         11.      BrownGreer will employ best practices to increase the deliverability rate of the

mailed notices by causing all mailing address information to be updated using the NCOA, which

provides updated address information for individuals or entities who have moved during the

previous four years and filed a change of address with the USPS. In addition, the addresses will be

certified via the Coding Accuracy Support System to ensure the quality of the zip code and verified

through Delivery Point Validation to verify the accuracy of the addresses.

         12.      Notices returned to BrownGreer by the USPS with a forwarding address will be re-

mailed to the new address provided by the USPS. Notices returned to BrownGreer by the USPS

without forwarding addresses will be subjected to an address verification search (commonly

referred to as “skip tracing”) through PacificEast, a global provider of consumer data, mailing

information and analytics. Notices will be re-mailed to the updated addresses obtained via the skip

tracing process. BrownGreer will update the Class List with any new information gathered in these

steps.

         13.      As part of the Notice plan, BrownGreer will send direct email notice substantially

in the form of the proposed Notice, to Settlement Class Members on the Class List who have valid

email addresses. BrownGreer follows best practices to both validate emails and increase

deliverability.



                                                  5
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 7 of 49




        14.     Specifically, before distributing the email notice, BrownGreer will validate all

email addresses to promote deliverability. Those Settlement Class Members whose emails are

deemed invalid will receive notice by mail instead.

        15.     Further, BrownGreer will design the email notice and its delivery process to avoid

many common “red flags” that might otherwise cause an email recipient’s spam filter to block or

identify the email notice as spam. For example, where a notice campaign involves a high volume

of emails, BrownGreer sends the email notices in smaller batches over the course of several days,

and does not include attachments like the Notice to the email notice, because high volume

issuances and attachments are often interpreted by various Internet Service Providers (“ISP”) as

spam or untrustworthy.

        16.     BrownGreer also accounts for the real-world reality that some emails will

inevitably fail to be delivered during the initial delivery attempt. Therefore, after the initial noticing

campaign is complete, BrownGreer, after an appropriate resting period (which allows any

temporary block at the ISP level to expire) causes a second round of email noticing to continue to

any email addresses that were previously identified as soft bounces and not delivered. In our

experience, this minimizes emails that may have erroneously failed to deliver due to sensitive

servers and optimizes delivery. All emails that are undeliverable and identified as hard bounces,

or fail to deliver after reattempt efforts, will be converted to letter notices that BrownGreer will

mail using the associated physical addresses.

        17.     The Notice Administrator must distribute the proposed Notice “[w]ithin 30 days

after entry of the Preliminary Approval Order.” SA § 8.1.2. To meet this requirement, BrownGreer

will begin the email notice campaign no later than 23 days after the entry of the Preliminary

Approval Order, sending emails in batches or waves, to maximize a successful email delivery rate;



                                                    6
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 8 of 49




and print and mail initial letter Notices no later than 30 days after entry of the Preliminary Approval

Order.

         18.   Before the Final Approval Hearing, BrownGreer will submit a supplemental

declaration providing the Court with, among other things, a detailed, verified account of the

success rate of the direct notice campaign.

         19.   As part of the direct notice provided by the Notice plan, I understand that Philips

Respironics will also issue a push notification to approximately 220,000 users of the

DreamMapper App which will refer them to the Settlement Website. A true and correct copy of

the DreamMapper App Notice is attached to this Declaration as Exhibit 4.

                                   SETTLEMENT WEBSITE

         20.   The Settlement Agreement requires the Settlement Administrator to establish and

maintain an interactive Settlement Website for the benefit of Settlement Class Members to provide

them with information regarding the approval process for the Settlement and Class Members’

rights with respect thereto. SA § 17.4. BrownGreer will work with the Settlement Administrator

to ensure the Settlement Website resources will be available in both English and Spanish, and

BrownGreer will be able to supplement this initial information resource with a translation of the

Notice documents in any language, should it be requested by a Settlement Class Member.

         21.   On the Settlement Website, Settlement Class Members will be able to easily view

general information about this Settlement, review relevant Court documents, and view important

dates and deadlines pertinent to the Settlement.

         22.   The Settlement Website will be ADA-compliant and optimized for mobile visitors

so that information loads quickly on mobile devices. Additionally, the Settlement Website will be

designed to maximize search engine optimization through Google and other search engines.



                                                   7
      Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 9 of 49




Keywords and natural language search terms will be included in the Settlement Website’s metadata

to maximize search engine rankings.

       23.     In addition to the dedicated Settlement Website, the Economic Loss Settlement

Website will also be used as part of the Notice Plan. The Notice will also be posted on the

Economic Loss Website in both English and Spanish and direct Settlement Class Members to the

Settlement Website.

        NOTICE PURSUANT TO THE CLASS ACTION FAIRNESS ACT OF 2005

       24.     Within ten days of the filing of the Settlement Agreement with this Court,

BrownGreer will cause notice to be disseminated to the appropriate state and federal officials

pursuant to the requirements of the Class Action Fairness Act, 28 U.S.C. §1715.

                           PLAIN LANGUAGE NOTICE DESIGN

       25.     The proposed Notice is designed to be “noticed,” reviewed and by presenting the

information in plain language, understood by Settlement Class Members. The design of the Notice

Plan follows the principles embodied in the Federal Judicial Center’s illustrative “model” notices

posted at www.fjc.gov. The Notice contains plain-language summaries of key information about

the rights and options of Settlement Class Members pursuant to the terms of the Settlement.

Consistent with normal practice, prior to being delivered and published, the Notice will undergo a

final edit for accuracy.

       26.     Rule 23(c)(2) of the Federal Rules of Civil Procedure requires class action notices

to be written in “plain, easily understood language.” Brown Greer maintains a strong commitment

to adhering to this requirement, drawing on its experience and expertise to craft notices that

effectively convey the necessary information to Settlement Class Members in plain language.




                                                8
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 10 of 49




                                       DATA SECURITY

       27.     BrownGreer’s programs and systems are evaluated annually and every year since

2016, it has been awarded SOC 2, Type II certification. SOC 2, Type II certification is an

independent auditor’s report that follows a three-month examination of the design and actual

operating effectiveness of our system’s security, availability, and confidentiality controls,

considering system aspects from infrastructure, to software, data protection, system monitoring,

and recovery. BrownGreer runs regular vulnerability scans on all hosts within its network, both

internally and public facing. For any area where a potential risk may develop, immediate steps are

taken to address them and continually enhance data security.

                                        CONCLUSION

       28.     The Notice plan outlined above includes direct notice via email and postal mail,

which builds on the extensive resources developed as part of the Economic Loss Settlement.

Further, the Notice plan provides for the implementation of a dedicated Settlement Website to

further inform members of the Settlement Class of their rights and options in the Settlement.

       29.     It is my opinion that the Notice plan described herein meets the requirements of

due process and Fed. R. Civ. P. 23, and will provide appropriate notice to Settlement Class

Members of the proposed Settlement.

       I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: May 9, 2024

                                                             ____________________
                                                             Orran L. Brown, Sr.




                                                9
   Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 11 of 49




                         Exhibit 1:

Personal Biography of Orran L. Brown, Sr.
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 12 of 49




FOUNDING PARTNER
ORRAN L. BROWN, SR.
                      BROWNGREER PLC
                      250 Rocketts Way
                      Richmond, Virginia 23231-3753
                      Direct Dial: (804) 521-7201
                      Facsimile: (804) 521-7299
                      obrown@browngreer.com


                        Orran provides guidance, leadership and services for the management
                        and exchange of information in multidistrict litigation and the design,
approval and implementation of compensation systems, notice programs and claims facilities
for the resolution of claims through class action settlement, bankruptcy reorganization,
voluntary agreement, and other aggregation vehicles. He serves as a neutral claims
administrator, a trustee directing the implementation of settlement programs, and a court-
appointed special master presiding over discovery, adjudicating discovery disputes and ensuring
that pre-trial discovery progresses efficiently and in a timely manner.

Education

Harvard Law School, Cambridge MA
J.D. cum laude, 1981 (research assistant to Professor Lloyd Weinreb in criminal law and process;
various student organizations)

Hampden-Sydney College, Hampden-Sydney, VA
Hampden-Sydney, Virginia. B.A. summa cum laude, Government and Foreign Affairs, 1978 (GPA
4.0 out of 4.0; Co-Valedictorian; Chairman of the Student Court; Baker Scholar; Jefferson
Scholar; Phi Beta Kappa; Omicron Delta Kappa; Pi Sigma Alpha; Eta Sigma Phi; Algernon
Sydney Sullivan Medallion for Leadership)

Professional Experience

BrownGreer PLC, Richmond, Virginia.
2002 – Present. Co-Founder and Chairman of the leading firm for case management of MDL
and multiple claim litigation and the design and operation of compensation and claims
facilities.

Wheat Professor, Hampden Sydney College, Hampden Sydney, Virginia.
2018 – 2020. Taught an upper level course on Leadership and Ethics.

Bowman and Brooke, LLP, Richmond, Virginia.
1999 – 2002. Partner. Founder and Director of the Mass Claims Resolution Group and member of



        BROWNGREER PLC | 250 ROCKETTS WAY | RICHMOND, VA 23231| WWW.BROWNGREER.COM
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 13 of 49




the firm’s Executive Committee. Handled mass tort, class action, and other group claims facility
matters, proceedings and appeals. Advised management, trustees, and claims
administrators on the efficient design and operation of group claims facilities, strategies for the
successful resolution of claims, the negotiation and drafting of resolution plans, legal proceedings
to obtain court approval, and compliance with the agreements or court orders governing the claims
resolution process.

Adjunct Professor, University of Richmond School of Law.
1997 – 2004. Taught an upper-level course on MDL proceedings and complex litigation from 2001
through 2004 and trial and appellate practice from 1997 through 2001.

Outside Counsel to the Dalkon Shield Claimants Trust, Richmond, Virginia.
1990 – 2000. Served as the primary outside general counsel to the $3.5 billion trust established in
the Chapter 11 bankruptcy proceeding of the A. H. Robins Co. to handle over 400,000 personal
injury claims arising from the Dalkon Shield IUD. Advised the Trust’s management, trustees,
inside counsel, and other outside counsel in the United States and other countries on the legal and
managerial aspects of the Trust’s fiduciary duties, operations (including employment issues and the
Trust’s lease, banking, investment and other contractual relationships), claims processing
arrangements, and coordination and design of Alternative Dispute Resolution, arbitration, and trial
proceedings on Dalkon Shield Claims. Represented the Trustees in the judicial proceedings in the
bankruptcy and district courts, and many appeals to the Court of Appeals for the Fourth Circuit,
arising out of implementing the bankruptcy Plan. Performed the same role for the two other trust
funds created to handle Dalkon Shield Claims. Handled the steps and proceedings to close the
three trusts and create insurance coverage and an escrow agent for run-off issues until 2008.

Christian, Barton, Epps, Brent & Chappell, Richmond, Virginia.
1986 – 1995. Partner and Member of the firm’s Executive Committee. Handled securities fraud
class actions, employment, products liability and commercial litigation in state and federal courts
in Virginia and elsewhere. Counseled clients on employment law issues. Arbitrator for the
American Arbitration Association for securities fraud and construction cases. Joined the
partnership in 1990. Began representing the Dalkon Shield Claimants Trust in 1990 while still a
member of this firm.

Litigator in Houston, Texas.
1982 – 1986. First with Liddell, Sapp, Zively, Brown & LaBoon and then with Miller, Keeton,
Bristow & Brown after the Liddell, Sapp Litigation Chairman moved to that firm. General
litigation matters, including the Pennzoil v. Texaco suit arising from Texaco’s acquisition of
Getty Oil. Tied for the highest score on the February 1983 Texas bar examination.

Law Clerk to the Hon. Robert R. Merhige, Jr.
1981 – 1982. United States District Court for the Eastern District of Virginia, Richmond,
Virginia.




         BROWNGREER PLC | 250 ROCKETTS WAY | RICHMOND, VA 23231| WWW.BROWNGREER.COM
                                              2
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 14 of 49




Professional Activities

   Virginia State Bar
   State Bar of Texas (Inactive Status; tied for highest score on Texas Bar examination)
   Permanent Member, Fourth Circuit Judicial Conference
   Founding Member, Richmond Inn of Court
   Super Lawyers Magazine’s Annual List of Top Attorneys in Virginia
   AV Preeminent™ Rating, Martindale-Hubbell®

Bar Admissions

   Virginia and Texas
   United States Supreme Court
   United States Court of Appeals for the Third Circuit
   United States Court of Appeals for the Fourth Circuit
   United States Court of Appeals for the Fifth Circuit
   United States District Courts in Virginia and Texas

Selected Speaking and Writing

   American Conference Institute: 11th Annual Drug and Medical Device Litigation. Making
    the Decision to Settle and Devising Novel End-Game Strategies. December 15, 2006.
   American Conference Institute: Resolving Mass Tort Products Liability Claims. What You
    Must Know About Settlement Administration. March 28, 2007.
   American Conference Institute: Resolving Mass Tort Products Liability Claims. Developing
    Your Settlement Position with Respect to Mass Tort Product Claims. March 28, 2007.
   Louisiana State Bar Association’s 8th Annual Class Action/Mass Tort Symposium. The
    Function and Scope of the Claims Administration Process. October 17, 2008.
   Center on Civil Justice: The Future of Class Action Litigation: A View from the Consumer
    Class. November 7, 2014.
   Conference, Panel 2: Reforming the Consumer Class Action, 11 N.Y.U. J. L. & Bus. 675,
    675-697 (2015).
   Emory Law, Institute for Complex Litigation and Mass Claims, FJC/JPML Conference
    Managing Settlement in Complex Litigation, Panel: Case Management Techniques: What
    Helps, What Backfires, and How to Get to Efficient Resolution (2016).
   Hampden-Sydney College Bar Association Legal Conference, Panel: Class Actions and
    Multiple Claims: End Games Planning (2017)
   HarrisMartin MDL Conference, HIV Drugs, Valsartan, 3M Earplugs and Litigating in a
    Post-Fosamax World, Panel: Instructive Guidance for Navigating Today’s Mass Tort
    Landscape (2019).
   HarrisMartin MDL Conference, HIV Drugs, Valsartan, 3M Earplugs and Litigating in a
    Post-Fosamax World, Panel: Settlement Issues for the Plaintiff and the Defense (2019).




         BROWNGREER PLC | 250 ROCKETTS WAY | RICHMOND, VA 23231| WWW.BROWNGREER.COM
                                              3
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 15 of 49




   George Washington University Law School-James F. Humphreys Complex Litigation
    Center, Annual Review of New Practices in Mass-Tort MDLs, Presenter: Central Litigation
    Management System (2021).
   George Washington University Law School-James F. Humphreys Complex Litigation
    Center, Mass Tort MDL Best Practices, Drafter and Team Lead: Centralized Information
    Platform; Reviewer: Census Orders (2021).

Personal

   Born in Lynchburg, Virginia, 1956
   Grew up on a family tobacco farm in Bedford County, Virginia; worked on the farm until law
    school; drove a school bus at age 17.
   Married to Ellen Firsching Brown (book author and writer; former environmental lawyer with
    Hunton & Williams, the Office of the Attorney General of Virginia and Dominion Resources;
    former law clerk to Hon. Frederick P. Stamp, Jr., United States District Judge for the Northern
    District of West Virginia)
   Four children (Orran, Jr., Carly, Read and Drew); five grandchildren (Orran III, Anne Ryland,
    Beatrice, Rose, and Callum)
   Board of Trustees, Hampden-Sydney College (Vice-Chair, term ended in 2023)
   Board of Trustees, The Roller-Bottimore Foundation
   Board of Visitors, St. Christopher’s School
   Vestry, St. Stephen’s Episcopal Church (term ended 2021)
   City of Richmond Charter Review Commission
   Boy Scouts Troop 444, Assistant Scout Master (2012-2020)
   Various other community and philanthropic activities




         BROWNGREER PLC | 250 ROCKETTS WAY | RICHMOND, VA 23231| WWW.BROWNGREER.COM
                                              4
Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 16 of 49




                        Exhibit 2:

     BrownGreer PLC Firm Overview
            Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 17 of 49


                        Professional Service. Redefined.




                                               Firm Overview




                                                                     BrownGreer plc
                                                                       250 Rocketts Way
                                                                    Richmond, VA 23231
                                                           information@browngreer.com
                                                                         (804) 521-7200
                                                                  www.BrownGreer.com


© 2024 BrownGreer PLC
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 18 of 49

             Professional Service. Redefined.




          Action, Integrity and Service.
T    he claims administration process
     moves quickly, requiring smart and
nimble action to ensure the
                                             process, but also for our ability to
                                             fulfill the requirements of any settlement
                                                          program with integrity
best possible resolution.                                 and respect.
BrownGreer was built with
                                                         Choosing a claims
this in mind. Our relentless
                                                         administrator can be
pursuit of excellence has
                                                         daunting. There are many
allowed us to become a
                                                         factors to consider and
well-respected and sought
                                                         every settlement has its
after claims resolution law
                                                         own unique challenges. By
firm. We are known not only
                                             selecting BrownGreer, you are choosing
for our mastery of the technical and
                                             a partner that will be with you every
legal procedures in the claims resolution
                                             step of the way.




 © 2024                                                                             2
         Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 19 of 49

            Professional Service. Redefined.




Why Choose BrownGreer?

                   First and foremost, we are lawyers.
                   We can review and understand the legalities and nuances in every
                   settlement agreement, as well as the implications of law that may come
                   into play as we build your settlement program. That knowledge helps
                   us identify potential obstacles, discuss them with you at the outset, and
                   plan for them in the execution of your program.



                   We are cutting edge technology experts.
                   Our lawyers are paired with highly skilled in-house technology
                   professionals. Having our technology team on site gives us the
                   advantage of working through the technical and security requirements
                   of your program collaboratively in real time, ensuring you are receiving
                   the best and most secure platform to execute your settlement.



                   We have deep and varied experience.
                   Our principals, Orran Brown, Sr. and Lynn Greer, have been at the
                   center of some of the most significant multiple claims resolutions for
                   more than 30 years. As BrownGreer has grown, we have added to that
                   foundation, creating a firm that can readily tackle programs of any scale
                   across multiple industries and jurisdictions. From consumer products,
                   food and beverage, and retail to financial services, pharmaceuticals,
                   and medical devices, our settlement programs have ranged from several
                   hundred class members to several million class members.




© 2024                                                                                         3
             Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 20 of 49

                Professional Service. Redefined.




Notice Administration
Knowledge, Creativity and Resourcefulness.

W       hen designing notice plans,
        BrownGreer focuses on reaching
potential class members using the most
effective methodologies to target the impacted
population. Each plan is created to inform
them in clear terms of the existence of the
proposed settlement, how it affects them, their
rights and obligations under the settlement
agreement, the actions they may take, any
deadlines for acting, and the consequences of
acting or failing to act by the deadline.
We have issued millions of direct class notices by email, short-form postcards, and/or long-form
letters or notice packets. Our notice services follow through to the resolution of a settlement
program. We have also issued millions of review determination notices and courtesy or
instructional notices to class members and their counsel.
BrownGreer also designs and executes public notice campaigns through traditional print and
digital channels, including social media, that meet and exceed court mandated requirements for
approval. Our goal in every public notice campaign is to connect with the right people in the
right places, using sophisticated analytics such as geo-location and profile matching.




                     Notice Administration Experience

          55+    MILLION
           Total Notices Issued
                                      41+   Million
                                        Class Notices
                                                                14+    Million
                                                                 Program Notices




 © 2024                                                                                        4
                                Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 21 of 49

                                         Professional Service. Redefined.

                                                SEARCH
              NEWS


                                         SEARCH
      NEWS

                                                                            Media Calendar          Notice Plan
                                                  CAFA                                                                                              NEWS
                                                                                                                                                                                  SEARC

                                         Reporting
                                           SEARCH
                                                   and Analytics
             NEWS
                                               CAFA
                                                                                                                              Email Notice

                                                         SEARCH
                                                                                                                                                                                    C
                    NEWS
                                                CAFA                                                                                          Long Form and
                           CAFA Notices                                                                                                       Short Form Notice


                                        NEWS
                                                           CAFA          SEARCH
                                                                                                                                                                           NEWS
                Call Center
                                                                                                                                                     Postcard Notice


                                                                           CAFA                  SEARCH
              Community                                           NEWS                                                                                     NEWS


                Outreach                                                                                                                              Magazine Ads


                                                                              Notice Services
                                                                                       CAFA                            NEWS
                                                                                                                                       NEWS       SEARCH
                                                                                                                                                                  SEARCH


                Earned Media                                                                                                                     Newspaper Ads

                                                                                                                                       SEARCH
                                                                                                               NEWS
                                                                                                                                                    CAFA            CAFA

                      Social Media Ads                                                                                                 Radio
                               SEARCH
EWS                                                                       SEARCH                           SEARCH
                                         NEWS                                      NEWS
                                                                                                                                         CAFA
                                               Custom Website                                                         Keyword Search
                                 CAFA
                                                                             CAFA
                                                                                          Web Banner Ads
                                                                                                             CAFA




                            “[T]he notice provided by BrownGreer was state of the art and
                             well-tailored to reach the maximum number of class members”.
                                                                                                  The Hon. James F. Holderman
                                                                                  U.S. District Judge, Northern District of Illinois
                                           In re Capital One Telephone Consumer Protection Act Litigation, MDL Docket No. 2416




               © 2024                                                                                                                                               5
           Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 22 of 49

               Professional Service. Redefined.


Claims Administration
Experience, Commitment and Compassion.

D     rawing on our collective knowledge,
      we assist clients with the full range of
legal and administrative services necessary
to design, approve and implement claims
facilities created for the resolution of mass
claims, notice campaigns, and product
recalls. We can also assist in the management
of mass claims litigation through our
proprietary, MDL Centrality litigation
management system.

We are proud to have served in some of our
nation’s most significant resolution programs,
such as the $4.85 billion Vioxx personal injury settlement, the ongoing $2.8 billion ASR hip
settlement, and the $11 billion BP/Deepwater Horizon settlement. Equally, we are honored to
have been chosen to administer some of our country’s smaller, but most sensitive settlements,
including the One October Settlement Fund, a private settlement to resolve claims arising from
the October 1, 2017 mass shooting at the Route 91 Harvest Festival in Las Vegas, Nevada, and
the Catholic Diocese of Richmond Independent Reconciliation Program,­a private settlement
to resolve sexual abuse claims in the Richmond Catholic Diocese. As a result, we are familiar
with the special and varying requirements associated with myriad settlements both nationally
and globally.




                      Claims Administration Experience

          $33+ Billion 4.5+ Million 39.5+ Million
             Paid to Claimants          Claims Processed           Class Members




 © 2024                                                                                     6
                Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 23 of 49

                     Professional Service. Redefined.


                                              Litigation Calendar
                                                  Management             Program Design


           Multiple Claim Online Fact Sheets                                                        Settlement Agreement
                                                                                                    Consultation

                                                                                                                       AUDIT
     Automated PACER
   AUDIT
  Document Harvesting                                                                                        Special Master
         and Archiving
                                                                                                                      IT   AUD




                                                                                                                   AUDIT
                                                                                                                            Neutral Claims
Online Discovery
       AUDIT                                                                                                                Administrator
    Repositories


    Settlement
                                                                                                           AUDIT             Claims Review,
 Administration
                      AUDIT
                                                                                                                             Processing and
         Audits                                                                                                              Reporting


  Database Design                     AUDIT
                                                     Core Services                             AUDIT



      and Security                                                                                                     Communications
                                                                                                                       Management

             Website Design                                      AUDIT           AUDIT

               and Hosting                                                                               Fraud Prevention
                                                                                                         and Detection
                                                                                            AUDIT

                       Notice Administration,         AUDIT

                        Design and Planning                                               Lien Administration
                                                              Payment Processing
                          AUDIT
                                                                  and Auditing




                “The expedited resolution of approximately fifty thousand
                 personal injury claims could not have been achieved without the
                 extraordinary effort and outstanding work put forth by BrownGreer
                 PLC in its role as Claims Administrator”.
                                                                                                The Hon. Eldon E. Fallon
                                                                       U.S. District Judge, Eastern District of Louisiana
                                                        In re Vioxx Products Liability Litigation, MDL Docket No. 1657




  © 2024                                                                                                                                7
             Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 24 of 49

                  Professional Service. Redefined.



Fund Allocation
Methodical, Fair and Transparent.
D    etermining how to equitably distribute funds to claimants in a way that is transparent
     and understandable is key to the successful resolution of a settlement program. From
simple pro rata distribution to economic life value modeling, we have decades of experience
designing allocation methods that are as fair as possible to every claimant and address individual
requirements of a program.


                                                                         Designing matrices
                                                                         or grids to be used in
                       Individual
                                                                         “inventory” settlements
                       settlements
                                                                         for both plaintiff’s and
                                                                         defense firms




          Firm-by-firm
          settlements

                                                                            Developing Relative Equity
                                                                            Models for complicated
                                                                            cases involving injury
                                                                            categories and other
                                                                            enhancement factors such
                                                                            as economic loss and
                                                                            medical expenses
      Bankruptcy
      reorganization
      plans
                                                                     Court-Assisted
                                                                     global settlement
                                     Class action                    programs
                                     settlements




 © 2024                                                                                                  8
           Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 25 of 49

               Professional Service. Redefined.




Fund Administration and Distribution
Validated, Secure and Verified.

W       e efficiently and effectively provide the full breadth of all payment related tasks and
        responsibilities needed to ensure the successful fulfillment of program payment needs. We
can design procedures to calculate award amounts, print, mail and track the status of checks, and
in the case of electronic payments, we can coordinate the seamless exchange of program funds
through PayPal, Wire, Zelle, or ACH transactions. Additionally, we can provide any ensuing
post-payment oversight and follow-up activities, as needed, such as generation of end-of-year
informational tax forms, stale check re-issuance, as well as ongoing monitoring and reconciliation
of account balances and close-out reports.




                     Check




                                                      DEBIT




                                      WIRE Transfers




 © 2024                                                                                         9
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 26 of 49

             Professional Service. Redefined.



  Case Study         NATIONAL OPIOID SETTLEMENT
                     ADMINISTRATION


B   rownGreer serves as the Directing
    Administrator for the $26 billion
National Opioid Settlement finalized
                                             adjusted for the proportionate share
                                             of the opioid epidemic impact. The
                                             share of the impact is calculated
with the “Big Three” drug distributors       using detailed and objective national
– AmerisourceBergen, Cardinal                data, including the amount of
Health, and McKesson – and opioid            opioids shipped to the state, the
manufacturer Johnson & Johnson.              number of opioid-related deaths that
                                             occurred in the state and the number
The settlement requires 85 percent of        of people who suffer opioid use
funds be allocated to programs that          disorder in the state.
will help address the ongoing opioid
crisis through treatment, education,         BrownGreer contacted all settling
and prevention efforts. A majority           states, performed and verified
of states have passed agreements             calculations for each state pursuant
that dictate how funds will be               to the applicable calculation
distributed between state and local          methodology, issued allocation
subdivision governments, ensuring            notices to each state as needed,
funds will effectively reach impacted        collected payment instructions
communities.                                 from 4,813 beneficiaries, which
                                             include state and local governments,
The settlement is the first of its kind      developed secure portals and serve
to administer resources directly             as a system of record, and have paid
to state and local governments               out more than $3.4 billion to 4,656
specifically for relief programs to          beneficiaries.
help rebuild the devastation caused
by the opioid epidemic. As Directing
Administrator, we will allocate and
distribute funds based on population



 © 2024                                                                         10
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 27 of 49

             Professional Service. Redefined.



  Case Study         FIRE VICTIM TRUST


W      e serve as the Claims Processor
       in the Fire Victim Trust, a
$13.5 billion fund established for the
                                             bankruptcy was established. Under
                                             the Stafford Act, claimants are
                                             required to repay those emergency
benefit of claimants who suffered            funds under certain circumstances.
property loss, emotional distress            In this program, FEMA reached an
and other damages as a result of the         agreement to not pursue repayment
Butte, North Bay, and Camp Fires             from claimants if the trust offset
in Northern California. More than            awards by the amount of FEMA
80,000 claimants filed claims in the         benefits a person already received. We
PG&E bankruptcy and are registered           developed a data sharing agreement
to seek compensation from the Fire           with FEMA through which we send
Victim Trust.                                them claimant tax IDs and they
                                             return a report of the benefits paid to
The Federal Emergency Management             those individuals.
Agency (FEMA) paid claimants
affected by wildfires before the




 © 2024                                                                          11
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 28 of 49

             Professional Service. Redefined.



  Case Study         PORTER RANCH PERSONAL INJURY AND
                     PROPERTY CLASS SETTLEMENTS


F   ollowing a massive natural
    gas leak in the Porter Ranch,
California area in 2015, more than
                                             bellwether plaintiffs, and discovery
                                             pool plaintiffs, and are separately
                                             addressing exceptional circumstances.
35,000 individuals filed claims of
personal and property damage. In             In accordance with the settlement
2021, BrownGreer was named as                timelines, BrownGreer established a
Settlement Administrator in the $40          settlement website for the property
million property settlement program          class to accept and review claims.
and Claims Processor in the separate         Both programs require regular
$1.8 billion personal injury settlement      reporting to the Court and Claims
program.                                     Administrator, respectively, and
                                             frequent and open communication
In the personal injury settlement,           between parties. We are facilitating
we developed a complex, points-              this with communication portals for
based allocation system with base            the exchange of information. The
points for residence and employment          portals we design are a hallmark of
proximity, or lack thereof, to the           each program we administer, allowing
gas leak. We also established base           role-based access to information
point adjustments as a percentage of         and providing a secure place within
assigned base points to account for          the database to act on a claim or
age, health conditions, healthcare           determination.
treatment, relocation, economic loss,
remediation measures performed,




 © 2024                                                                         12
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 29 of 49

             Professional Service. Redefined.



  Case Study         DEEPWATER HORIZON


O    n April 20, 2010, an explosion
     on the Deepwater Horizon
Macondo oil well drilling platform
                                             resolve government entity claims. We
                                             also liaised with the National Center
                                             for Disaster Fraud and the DOJ to
tragically killed 11 workers and             coordinate findings of fraud and
started the largest marine oil spill         assisted in trial preparations across
in U.S. history, releasing millions          the country. Overall, the program
of barrels of oil into the Gulf of           referred close to 2,000 matters to the
Mexico. Hundreds of thousands of             DOJ.
individuals and businesses suffered
physical and economic damages.               This program paid over $12 billion on
After filling the administrative,            nearly 391,000 claims. We designed
review, and technology needs of              and implemented processes for the
the Gulf Coast Claims Facility from          twelve different claim types outlined
June 2010 to 2012, BrownGreer was            in the settlement agreement, issued
appointed by the court to intake,            determinations to and handled
review, and process to payment               program communication with
claims in the Deepwater Horizon              lawyers and unrepresented claimants,
Settlement Program established               and opened and operated 21 satellite
in the class action settlement               offices across the Gulf.
that replaced the GCCF process.
Additionally, we coordinated with
the Court-Appointed Neutrals to




 © 2024                                                                         13
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 30 of 49

                Professional Service. Redefined.


Economic Loss Program Experience
                                Economic Loss Settlement Programs
                                                                                                         Program     Settlement
                               Program Description                                         Role
                                                                                                           Size         Fund
         Porter Ranch Property Class Settlement. Settlement for owners and                               Estimated
         leaseholders of real property to resolve claims arising from the October        Settlement      > 50,000
  1.                                                                                                                   $40 Million
         23, 2015 gas leak from a storage well at the Aliso Canyon natural gas          Administrator      Class
         storage facility in Porter Ranch, California.                                                   Members

         In re: PG&E Corporation and Pacific Gas and Electric Company, Debtor,
         Bankruptcy Case No. 19-30088, (Bankr. N.D. Ca.). Settlement program
         created in the Chapter 11 bankruptcy proceeding of PG&E Corporation               Claims         70,000
  2.                                                                                                                   $13.5 Billion
         to resolve claims from individuals and businesses who suffered personal          Processor      Claimants
         injury, property damage and economic losses as a result of fires allegedly
         caused by PG&E.

         In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,
                                                                                           Claims                    Uncapped Fund;
         on April 20, 2010, MDL Docket No. 2179 (E.D. La). Class action                                  260,000
  3.                                                                                    Administration                 $11.6 Billion
         settlement to resolve economic loss and property damage claims arising                          Claimants
                                                                                          Services                     Disbursed
         from the April 20, 2010 oil spill in the Gulf of Mexico.

                                                                                           Claims
         Gulf Coast Claims Facility. Voluntary claims program to resolve                Administration               $20 Billion cap;
                                                                                                         600,000
  4.     economic loss and physical injury claims arising from the April 20, 2010 oil     Services;                    $6.5 Billion
                                                                                                         Claimants
         spill in the Gulf of Mexico.                                                     Transition                   Disbursed
                                                                                         Coordinator

                                                                                                                        Blend of
                                                                                           Claims
         In re Chinese-Manufactured Drywall Products Liability Litigation, MDL                                       Uncapped and
                                                                                        Administrator;    25,000
  5.     Docket No. 2047 (E.D. La.). Class action settlement for the remediation                                     Capped Funds;
                                                                                         Lynn Greer,     Claimants
         of homes containing defective drywall manufactured in China.                                                 $610 Million
                                                                                        Special Master
                                                                                                                       Disbursed

         In re Syngenta AG MIR 162 Corn Litigation, MDL Docket No. 2591,                 Notice and      > 600,000
  6.     (D. Kansas). Class action settlement to resolve claims concerning                Claims            Class      $1.51 Billion
         genetically modified corn and crop values.                                     Administrator    Members

         In re Black Farmer's Discrimination Litigation, No. 08-mc-0511 PLF
         (D.D.C.). Class action settlement to resolve claims of discrimination
                                                                                        Claims Review     40,000
  7.     against African-American farmers by the U.S. Department of Agriculture                                        $1.25 Billion
                                                                                        and Evaluation   Claimants
         regarding farm loans and loan servicing for claimants who had missed
         deadlines in a prior settlement.

         Travel Insurance Refund Program in the matter of Jefferson Insurance
         Company NAIC #11630 and in the matter of BCS Insurance Company
         NAIC #38245. Regulatory settlement program between certain travel                Program         504,927        To Be
  8.
         insurance companies and State regulators to issue refunds to policy            Administrator     Payees       Determined
         holders who purchased travel insurance through an Opt-Out Marketing
         Plan.

         Ortega Melendres, et. al., v. Paul Penzone, et. al., No. CV-07-2513-PHX-
                                                                                         Notice and
         GMS (D. Az.). Voluntary program to resolve claims that individuals were                            200
  9.                                                                                      Claims                     Uncapped Fund
         stopped or held by the Maricopa County Sheriff’s Office in violation of a                       Claimants
                                                                                        Administrator
         court order.




© 2024                                                                                                                          14
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 31 of 49

                Professional Service. Redefined.



                                Economic Loss Settlement Programs
                                                                                                        Program      Settlement
                               Program Description                                        Role
                                                                                                          Size          Fund
         Confidential. Conciliation agreement between a financial institution and       Notice and
                                                                                                        Class Size
  10.    the U.S. Department of Housing & Urban Development related to alleged           Claims                      Fund Uncapped
                                                                                                        Unknown
         discriminatory acts in mortgage loan application handling.                    Administrator

         United States Securities and Exchange Commission v. American
         International Group, Inc., No. 06-Civ. 100-LAP (S.D.N.Y.). Securities           Audited        260,000
  11.    enforcement action settlement between the SEC and a multinational              the Claims       Class        $843 Million
         insurance corporation over allegations of accounting fraud and related        Administrator    Members
         shareholder litigation.

         In re Genetically Modified Rice Litigation, MDL Docket No. 1811 (E.D.
                                                                                         Claims          12,000
  12.    Mo.). Voluntary claims program to resolve claims concerning genetically                                      $750 Million
                                                                                       Administrator    Claimants
         modified rice and crop values.

         CBP Global Settlement. Settlement program reached by the Department
                                                                                                         25,000
         of Homeland Security, U.S. Customs and Border Protection (CBP) and the         Settlement
  13.                                                                                                     Class       $184.1 Million
         National Treasury Employees Union (NTEU) to resolve certain grievances        Administrator
                                                                                                        Members
         filed by NTEU.

         United States v. National Treasury Employees Union, No. 93-1170 (D.C.          Trustee of      212,000
  14.    App.). Class action settlement between a federal employees’ union and          Settlement       Class        $173 Million
         the U.S. Government for back payment of wages.                                   Trust         Members

         Blando v. Nextel West Corp., No. 02-0921-FJG (W.D. Mo.). Class action                          5,000,000
                                                                                       Advisor to the
  15.    settlement by a wireless telecommunications provider to resolve claims                            Class      $165 Million
                                                                                          Court
         under Missouri law involving “cost recovery fees” charged to customers.                        Members

         Brown & Szaller, Co., L.P.A. et al., v. Waste Management of Ohio, Inc.,
         Case No. CV-16-859588. Proposed class action settlement resolving              Notice and       65,000
  16.    claims of certain commercial customers of Waste Management of Ohio,             Claims           Class       $30.5 Million
         Inc. related to alleged improper price increases on waste collection,         Administrator    Members
         disposal, and/or recycling services.

         Bartell, et al. v. LTF Club Operations Company, Inc., Case No. 2:14-cv-
         00401. Proposed class action settlement resolving claims of certain            Notice and       60,000
  17.    former members of Life Time Fitness in Ohio related to Life Time’s alleged      Claims           Class        $14 Million
         failure to honor cancellation requests and issue certain refund payments      Administrator    Members
         under Ohio’s Prepaid Entertainment Contracts Act (PECA).

         Wildfire Assistance Program. Voluntary program providing financial
                                                                                         Claims          20,000
  18.    assistance to individuals experiencing urgent needs as a result of the 2017                                  $100 Million
                                                                                       Administrator    Claimants
         and 2018 California Wildfires.

         In re Capital One Telephone Consumer Protection Act Litigation, MDL            Notice and      17,500,000
  19.    Docket No. 2416 (N.D. Ill.). Class action settlement to resolve claims          Claims            Class      $75.4 Million
         arising from alleged violations of the Telephone Consumer Protection Act.     Administrator     Members

         In re Vioxx MDL Settlement Agreement Related to Consumer Class
         Actions, MDL Docket No. 1657 (E.D. La.). Class action settlement                Claims          8,000
  20.                                                                                                                  $23 Million
         to resolve consumer protection claims arising from the marketing of           Administrator    Claimants
         prescription painkillers.

         Yarger v. ING Bank, FSB, No. 11-154-LPS (D. Del.). Class action                Notice and      115,000
  21.    settlement to resolve claims related to advertising fixed rate mortgages        Claims          Class         $20 Million
         under Delaware consumer law.                                                  Administrator    Members



© 2024                                                                                                                         15
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 32 of 49

                Professional Service. Redefined.



                                Economic Loss Settlement Programs
                                                                                                      Program       Settlement
                               Program Description                                       Role
                                                                                                        Size           Fund
         Acosta v. Tyson Foods, Inc., No. 8:08-cv-86 (D. Neb.). Class action
                                                                                                       3,700
         settlement by a poultry producer to resolve claims under the Fair Labor        Notice
  22.                                                                                                  Class          $19 Million
         Standards Act and Nebraska law for employee compensation for time            Administrator
                                                                                                      Members
         spent donning/doffing protective equipment.

         Flores v. Zorbalas, No. 27-CV-16-14225 (Minn. St. Ct., Hennepin Cnty.,
         Minn.). Class certification notice program and subsequent class action
                                                                                       Notice and      5,500
         settlement program resolving claims of tenants of certain apartments
  23.                                                                                   Claims         Class         $18.5 Million
         in Minneapolis, MN whose landlords allegedly rented out the properties
                                                                                      Administrator   Members
         without proper licenses and failed to maintain the properties as required
         by health and safety laws.

         United States of America v. Capital One, N.A., No. 1:12-cv-828 (E.D.
                                                                                       Notice and
         Va.). Consent decrees between a financial services company and the                            44,000
  24.                                                                                   Claims                        $15 Million
         Department of Justice and Office of Comptroller of the Currency to                           Claimants
                                                                                      Administrator
         resolve alleged violations of the Servicemembers Civil Relief Act.

         Figueroa v. Capital One, N.A., No. 3:18-cv-00692-JM-BGS (S.D. Cal.).
         Class action settlement by a financial institution to resolve claims that     Notice and     1.9 million
  25.    it breached its contract with accountholders by improperly assessing           Claims          Class         $13 million
         and collecting fees when accountholders used out of network ATMs to          Administrator   Members
         conduct a balance inquiry.

         Ene v. Maxim Healthcare Services, Inc., No. 4:09-cv-02453 (S.D. Tex.).
                                                                                                       1,600
         Class action settlement by a healthcare provider to resolve claims under       Notice
  26.                                                                                                  Class         $12.3 Million
         the Fair Labor Standards Act concerning the classification of healthcare     Administrator
                                                                                                      Members
         recruiters as exempt from overtime pay.

         Gregorio v. Premier Nutrition Corporation, Civil Action No: 17-cv-05987       Notice and     9,360,000
  27.    (S.D.N.Y.). Class action settlement to resolve claims concerning the           Claims           Class        $9 Million
         misleading advertising of protein shake products.                            Administrator   Members

         Spinelli v. Capital One Bank (USA), No. 8:08-cv-132 (M.D. Fla.). Class        Notice and     9,000,000
  28.    action settlement by a financial services company with credit card holders     Claims           Class        $5 Million
         to resolve claims under the Truth in Lending Act.                            Administrator   Members

         Hankins v. CarMax Inc., No. 03-C-07-005893 CN (Baltimore County
                                                                                       Notice and      7,300
         Md. Cir. Ct.). Class action settlement to resolve claims that a retail car
  29.                                                                                   Claims         Class          $8 Million
         company sold used vehicles without disclosing that the vehicles had been
                                                                                      Administrator   Members
         used previously as short-term rentals.

         Cohen v. Warner Chilcott Public Ltd. Co., No. 1:06-cv-00401-CKK                              2,000,000
                                                                                        Notice
  30.    (D.D.C). Class action settlement to resolve antitrust claims against two                        Class        $6 Million
                                                                                      Administrator
         pharmaceutical companies regarding the sale of an oral contraceptive.                        Members

         Peg Bouaphekeo, et. al., v. Tyson Foods, Inc., No. 5:07-cv-04009-
         JAJ (N.D. Iowa Western Division). Class action settlement by a poultry                        2,523
                                                                                        Notice
  31.    producer to resolve claims under the Fair Labor Standards Act and Iowa                        Class         $5.78 Million
                                                                                      Administrator
         law for employee compensation for time spent donning/doffing protective                      Members
         equipment.

         Morgan v. Richmond School of Health and Technology, Inc., No. 3:12-cv-
                                                                                       Notice and      4,200
         00373-JAG (E.D. Va.). Class action settlement by a for-profit vocational
  32.                                                                                   Claims         Class          $5 Million
         college to resolve claims under the Equal Credit Opportunity Act, Title VI
                                                                                      Administrator   Members
         of the Civil Rights Act of 1964 and the Virginia Consumer Protection Act.




© 2024                                                                                                                        16
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 33 of 49

                Professional Service. Redefined.


                                 Economic Loss Settlement Programs
                                                                                                       Program      Settlement
                                Program Description                                       Role
                                                                                                         Size          Fund
         Gomez v. Tyson Foods, Inc., No. 08-021 (D. Neb.). Class action
                                                                                                        5,300
         settlement by a poultry processing company to resolve claims under the          Notice
  33.                                                                                                   Class         $5 Million
         Fair Labor Standards Act and Nebraska law for employee compensation           Administrator
                                                                                                       Members
         for time spent donning/doffing protective equipment.

         Rogers v. City of Richmond, Virginia, No. 3:11-cv-00620 (E.D. Va.). Class
         action settlement under the Fair Labor Standards Act and Virginia law           Claims           600
  34.                                                                                                                $4.6 Million
         involving current and former city police officers alleging unpaid overtime    Administrator   Claimants
         wages.

         Gales v. Capital One, N.A., No. 8:13-cv-01624 (D. Md). Class action                            9,000
                                                                                         Claims
  35.    settlement by a financial services company to resolve claims related to the                    Class        $4.4 million
                                                                                       Administrator
         sale of certain repossessed motor vehicles.                                                   Members

         Betts v. National Cash Advance/Advance America, Nos.
         502001CA000320OCAI-MB and 502004CA008164XXXXI-MB (Palm
                                                                                        Notice and      18,500
         Beach County Cir. Ct.). Class action settlement to resolve claims alleging
  36.                                                                                    Claims          Class       $4.32 Million
         violates of the Florida Lending Practices Act, the Florida Consumer
                                                                                       Administrator   Members
         Finance Act, the Florida Deceptive and Unfair Trade Practices Act, and the
         Civil Remedies for Criminal Practices Act.

         Llewellyn v. Big Lots Stores, Inc., No. 09-cv-5085 (E.D. La.). Class                            200
                                                                                         Claims
  37.    action settlement by a retailer to resolve claims under the Fair Labor                         Class         $4 Million
                                                                                       Administrator
         Standards Act regarding the classification of assistant store managers.                       Members

         Desio v. Emerson Electric Co. d/b/a InSinkErator, No. 2:15-cv-00346                           Estimated
                                                                                        Notice and
         (E.D. Wa.). Class action settlement to resolve claims that certain filters                    < 455,000
  38.                                                                                    Claims                      $3.8 Million
         used in water filtration systems could crack and leak water, causing                             Class
                                                                                       Administrator
         property damage.                                                                              Members

         Herron v. CarMax Auto Superstores, Inc., No. 2006-CP-02-1230 (Aiken            Notice and      27,000
  39.    County S.C. Jud. Dist.). Class action settlement to resolve claims related      Claims          Class       $3.8 Million
         to document processing fees charged to customers by a car dealer.             Administrator   Members

         Collins v. Sanderson Farms, Inc., No. 2:06-cv-02946 (E.D. La.). Class
                                                                                        Notice and      21,000
         action settlement by a poultry processing company to resolve claims
  40.                                                                                    Claims         Class         $3.1 Million
         under the Fair Labor Standards Act regarding employee compensation
                                                                                       Administrator   Members
         for time spent donning/doffing protective equipment.

         Nader v. Capital One Bank (USA), No. CV-12-01265-DSF (RZx) (C.D.
                                                                                                       1,800,000
         Cal.). Class action settlement by a financial institution to resolve claims    Settlement
  41.                                                                                                     Class       $3 Million
         under state privacy and wiretapping laws concerning the alleged               Administrator
                                                                                                       Members
         recording of outbound customer service calls.

         In re Children's Ibuprofen Oral Suspension Antitrust Litigation, No. 1:04-
                                                                                                        10,000
         mc-0535 (D.D.C.). Class action settlement to resolve claims of antitrust        Notice
  42.                                                                                                    Class        $3 Million
         violations by two manufacturers of over-the-counter children’s pain           Administrator
                                                                                                       Members
         relievers.

         Rubenstein v. The Neiman Marcus Group LLC, No. 2:14-cv-07155-SJO-
                                                                                        Notice and
         JPR (C.D. Ca.). Proposed settlement program to resolve allegations that                         To Be
  43.                                                                                    Claims                      $2.9 Million
         consumers were misled by the “Compared To” price tags on merchandise                          Determined
                                                                                       Administrator
         sold by the Defendant.

         United States of America v. Chevy Chase Bank, F.S.B., No. 1:13-cv-1214
                                                                                        Notice and      3,500
         (E.D. Va.). Consent decree between a financial services company and
  44.                                                                                    Claims         Class        $2.85 Million
         a federal regulatory agency involving allegations under the Equal Credit
                                                                                       Administrator   Members
         Opportunity and Fair Housing Acts.


© 2024                                                                                                                         17
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 34 of 49

                Professional Service. Redefined.


                                Economic Loss Settlement Programs
                                                                                                      Program   Settlement
                               Program Description                                       Role
                                                                                                        Size       Fund
         Samuel v. EquiCredit Corp., No. 00-cs-6196 (E.D. Pa.). Class action
                                                                                       Notice and      13,000
         settlement by a financial services institution to resolve claims under the
  45.                                                                                   Claims          Class    $2.5 Million
         Real Estate Settlement Procedures Act regarding the application of loan
                                                                                      Administrator   Members
         proceeds to pay mortgage broker fees.

         Beecroft v. Altisource Business Solutions PVT LTD., No. 0:15-cv-02184         Notice and      56,104
  46.    (D. Minn). Class action settlement to resolve claims arising from alleged      Claims         Class     $1.8 Million
         violations of the Telephone Consumer Protection Act.                         Administrator   Members

         Hall v. Capital One Auto Finance, Inc., No. 1:08-cv-01181 (N.D. Ohio).        Notice and      3,400
  47.    Class action settlement by a financial services company to resolve claims      Claims         Class     $1.5 Million
         related to automobile repossession under Ohio consumer statutes.             Administrator   Members

         McCoy v. North State Aviation, LLC, Case No. 1:17-cv-00346-CCE-LPA
         (M.D.N.C). Class action settlement to resolve claims that Defendant                            339
                                                                                       Settlement
  48.    violated the federal Worker Adjustment and Retraining Notification                            Class     $1.5 Million
                                                                                      Administrator
         Act (the WARN Act), which requires certain employers to give 60-day                          Members
         advance notification of plant closings and mass layoffs.

         Watts v. Capital One Auto Finance, Inc., No. CCB-07-03477 (D. Md.).           Notice and      2,700
  49.    Class action settlement by a financial services company to resolve claims      Claims         Class     $990,000
         related to automobile repossession under Maryland consumer statutes.         Administrator   Members

         Churchill v. Farmland Foods, Inc., No. 4:06-cv-4023 (C.D. Ill.). Class
                                                                                       Notice and      2,300
         action settlement by a pork processing company to resolve claims
  50.                                                                                   Claims         Class     $980,000
         under the Fair Labor Standards Act and Illinois law regarding employee
                                                                                      Administrator   Members
         compensation for time spent donning/doffing protective equipment.

         Polanco v. Moyer Packing Company, No. C.P., 1852 (Philadelphia
         County Pa.). Class action settlement by a beef processing company             Notice and      4,500
  51.    to resolve claims under the Fair Labor Standards Act and Pennsylvania          Claims         Class     $850,000
         law regarding employee compensation for time spent donning/doffing           Administrator   Members
         protective equipment.

         Cohen v. Foothill/Eastern Transportation Corridor Agency, et. al., No.
                                                                                       Notice and      25,762
         SACV 15-01698 DDP (C.D. Ca.). Class action settlement to resolve
  52.                                                                                   Claims         Class     $850,000
         alleged violations of the Fair and Accurate Credit Transactions Act
                                                                                      Administrator   Members
         (FACTA) by a toll-road operator.

         Bessey v. Packerland Plainwell, Inc., No. 4:06-cv-0095 (W.D. Mich.).
                                                                                       Notice and      3,000
         Class action settlement by a pork processing company to resolve claims
  53.                                                                                   Claims         Class     $700,000
         under the Fair Labor Standards Act and Michigan law regarding employee
                                                                                      Administrator   Members
         compensation for time spent donning/doffing protective equipment.

         Santiago v. GMAC Mortgage Group, Inc., No. 784574 (E.D. Pa.). Class
                                                                                       Notice and      84,000
         action settlement by a financial services company to resolve claims under
  54.                                                                                   Claims          Class    $650,000
         the Real Estate Settlement Procedures Act concerning charges for
                                                                                      Administrator   Members
         mortgage settlement services.




© 2024                                                                                                                    18
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 35 of 49

                Professional Service. Redefined.


                                 Economic Loss Settlement Programs
                                                                                                         Program     Settlement
                               Program Description                                          Role
                                                                                                           Size         Fund
         Contreras v. PM Beef Holdings, LLC, No. 07-CV-3087 (D. Minn.). Class
                                                                                          Notice and      3,000
         action settlement by a beef processing company to resolve claims
  55.                                                                                      Claims         Class        $500,000
         under the Fair Labor Standards Act and Minnesota law for employee
                                                                                         Administrator   Members
         compensation for time spent donning/doffing protective equipment.

         Morales v. Greater Omaha Packing Co. Inc., No. 8:08-cv-0161 (D.
         Neb.). Class action settlement by a beef processing company to resolve           Notice and      4,000
  56.    claims under the Fair Labor Standards Act and Nebraska law regarding              Claims         Class        $490,000
         employee compensation for time spent donning/doffing protective                 Administrator   Members
         equipment.

         Graham v. Capital One Bank (USA), N.A., 8:13-cv-00743 (C.D. Cal.).
                                                                                          Notice and      22,500
         Class action settlement related to claims under the California Unfair
  57.                                                                                      Claims          Class       $460,000
         Competition Law regarding alleged improper disclosures and charges
                                                                                         Administrator   Members
         assessed on credit card accounts.

         Hanna v. Agape Senior, LLC, No. 12-CP-40-5950 (S.C. St. Ct., Richland
                                                                                          Notice and       600       Uncapped Fund;
         Cnty., S.C.). Class action settlement resolving claims of certain residents
  58.                                                                                      Claims         Class        $480,000
         of senior and assisted living facilities related to alleged improper delivery
                                                                                         Administrator   Members       Disbursed
         of medical treatment.

         In re Moyer Packing Co., P. & S. Docket No. D-07-0053 (U.S. Dep't
                                                                                          Notice and
         Agric.). Consent decision involving a beef processing company to                                  1,100
  59.                                                                                      Claims                      $325,000
         compensate cattle producers for goods sold based on weights derived                             Claimants
                                                                                         Administrator
         using an allegedly malfunctioning weight calculation system.

         Confidential. Voluntary payment program by a city government to                                   175
                                                                                           Claims
  60.    compensate current and former city police officers for unpaid overtime                           Class        $300,000
                                                                                         Administrator
         wages.                                                                                          Members

         Dapice v. Capital One Bank (USA), N.A. No. 14-cv-6961 GW (AGRx).
                                                                                                          2,564
         Class action settlement by a financial institution to resolve claims related     Settlement
  61.                                                                                                     Class        $350,000
         to interest rates charged on balance transfers for certain credit card          Administrator
                                                                                                         Members
         accounts.

         Confidential. Voluntary program by a financial institution to refund              Program         457
  62.                                                                                                                  $233,000
         customers for payments subsequently discharged in bankruptcy.                   Administrator    Payees

         Wilder v. Triad Financial Corp., No. 3:03-cv-863 (E.D. Va.). Class action        Notice and      80,000
  63.    settlement by a financial services company to resolve claims associated           Claims          Class       $200,000
         with automobile loan applications under the Fair Credit Reporting Act.          Administrator   Members

         Conerly v. Marshall Durbin Food Corp., No. 2:06-cv-205 (N.D. Ala.).
                                                                                          Notice and      1,900
         Class action settlement by a poultry processing company to resolve
  64.                                                                                      Claims         Class        $150,000
         claims under the Fair Labor Standards Act regarding employee
                                                                                         Administrator   Members
         compensation for time spent donning/doffing protective equipment.

         Ferguson v. Food Lion, LLC, No. 12-c-861 (Berkeley County W. Va. Cir.
                                                                                          Notice and       185
         Ct.). Class action settlement by a retail company to resolve claims under
  65.                                                                                      Claims         Class        $150,000
         the West Virginia Wage Payment and Collection Act regarding timing of
                                                                                         Administrator   Members
         paychecks issued to discharged employees.

         Confidential. Voluntary settlement by a food processing company to                                670
                                                                                           Notice
  66.    resolve claims regarding employee compensation for donning/doffing                               Class        $125,000
                                                                                         Administrator
         protective equipment.                                                                           Members




© 2024                                                                                                                        19
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 36 of 49

                Professional Service. Redefined.



                                Economic Loss Settlement Programs
                                                                                                       Program      Settlement
                               Program Description                                       Role
                                                                                                         Size          Fund
         Confidential. Voluntary check remittance program by an investment fund
                                                                                      Settlement         1,049
  67.    to distribute proceeds from numerous settlements to beneficiaries of the                                      $117,000
                                                                                     Administrator      Payees
         fund.

         Confidential HUD Compensation Program. Compensation fund                     Notice and
                                                                                                       <100 Class
  68.    established to pay damages to persons allegedly discriminated against by      Claims                          $50,000
                                                                                                        Members
         financial institution on basis of pregnancy or parental leave.              Administrator

         Cook v. Columbia Freightliner, LLC, No. 10-CP-02-1987 (Aiken County
                                                                                      Notice and         380
         S.C. Jud. Dist.). Class action settlement to resolve claims regarding a
  69.                                                                                  Claims           Class           $17,000
         trucking company and the collection of administrative fees in the sale of
                                                                                     Administrator     Members
         motor vehicles.

         Confidential. Voluntary payments by a financial institution to reimburse      Payment           656
  70.                                                                                                                  $16,000
         fees charged to the credit card accounts of small business owners.          Administrator      Payees

         Clark v. Group Hospitalization and Medical Services, Inc., No. 3:10-CIV-
                                                                                      Notice and         80             $1,300
         00333-BEN-BLM (S.D. Cal.). Class action settlement by a health
  71.                                                                                  Claims           Class
         insurance provider to resolve claims under the Employee Retirement                                            Disbursed
                                                                                     Administrator     Members
         Income Security Act and California’s Unfair Competition Law.

                                                                                                                    Debt Reduction/
         Quinn v. BJC Health System, No. 052-00821A (City of St. Louis Mo. Cir.                         26,000
                                                                                       Claims                        Forgiveness to
  72.    Ct.). Class action settlement by a healthcare system to resolve claims                          Class
                                                                                     Administrator                  Qualifying Class
         associated with hospital fees charged to uninsured patients.                                  Members
                                                                                                                       Members

                                                                                     Orran Brown,
         In re Record Company Infringement Litigation, No. 6:15-cv-00708 (M.
                                                                                        Special          Not
  73.    D. Fla.). Consolidated proceedings involving 65+ parties and alleged                                       Not Applicable
                                                                                     Master; Project   Applicable
         violations of copyrights and contracts.
                                                                                       Manager

         Gray, Ritter & Graham P.C., et al. v. Goldman Phipps PLLC, et al., No.
         4:13-cv-00206-CDP (E.D. Mo.). Three separate but related claims
         programs (Watts Group Settlement, Banks Group Settlement, and GP/
                                                                                                        27,000
         Murray Group Settlement), established to resolve a class action lawsuit       Notice
  74.                                                                                                    Class      Not Applicable
         involving claimants who settled claims against Bayer arising out of the     Administrator
                                                                                                       Members
         presence of Bayer’s genetically-modified rice seed in the United States
         rice supply or lawyers who were paid common-benefit attorneys’ fees or
         paid common-benefit expenses in that litigation.

         In re Lehman Brothers Holdings Inc., No. 08-13555-JMP (Bankr.
         S.D.N.Y.). Program to track, monitor and evaluate fees being charged        Fee Committee       Not
  75.                                                                                                               Not Applicable
         by bankruptcy lawyers in the Lehman Brothers Chapter 11 bankruptcy            Assistant       Applicable
         proceeding.

         Jerry Parker, et al. v. Smithfield Packing Company, Inc., No. 7:07-cv-                         2,656
                                                                                       Notice
  76.    00176-H. Class action settlement to resolve claims related to overtime                         Class       Not Applicable
                                                                                     Administrator
         pay for employees of a processing facility in Clinton, North Carolina.                        Members




© 2024                                                                                                                        20
          Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 37 of 49

                Professional Service. Redefined.



                                Economic Loss Settlement Programs
                                                                                                         Program     Settlement
                               Program Description                                          Role
                                                                                                           Size         Fund
         Lee Lewis, et al. v. Smithfield Packing Company, Inc., No. 7:07-cv-                              12,136
                                                                                           Notice
  77.    00166-H. Class action settlement to resolve claims related to overtime                           Class      Not Applicable
                                                                                         Administrator
         pay for employees of a processing facility in Tarheel, North Carolina.                          Members

         Lycan, et. al., v. City of Cleveland, No. CV 09686044 (Court of Common
         Pleas, Cuyahoga County, OH). Class action lawsuit to resolve claims
                                                                                          Notice and      31,937
         that the City of Cleveland, Ohio, assessed traffic fines against non-                                          To Be
  78.                                                                                      Claims         Class
         vehicle owners (including lessees and renters) whose vehicles were                                           Determined
                                                                                         Administrator   Members
         photographed by automatic enforcement cameras operating in city limits,
         in violation of a city ordinance.

                                                                                          Notice and      15,000
         Mercier, et al v. The United States, No. 12-920C. Class action to resolve
  79.                                                                                      Claims          Class      $130 Million
         alleged claims of unpaid wages for nurses and physician assistants.
                                                                                         Administrator   Members

         Runton et al. v. Brookdale Senior Living, Inc., No. 0:17-cv-60664-CMA            Notice and      29,760
                                                                                                                        To Be
  80.    (S.D. Fla.). Class action settlement resolving claims of certain residents of     Claims          Class
                                                                                                                      Determined
         senior and assisted living facilities related to staffing determinations.       Administrator   Members

         In re De Bernardi v. City and County of San Francisco. Served as Court-                          26,000
                                                                                           Notice
  81.    approved Third Party Notice Administrator for a collective action lawsuit                         Class     Not Applicable
                                                                                         Administrator
         regarding Compensatory Time Off earned in lieu of paid overtime.                                Members

         In re Wazwaz v. City and County of San Francisco. Served as Court-                               1,000
                                                                                           Notice
  82.    approved Third Party Notice Administrator for a collective action lawsuit                        Class      Not Applicable
                                                                                         Administrator
         regarding Compensatory Time Off earned in lieu of paid overtime.                                Members

         In re Donofrio v. IKEA, No. 2:2018-cv-00599. Served as Court-
         appointed Third-Party Administrator, responsible for tracking and                Third Party       500
  83.                                                                                                                Not Applicable
         maintaining Opt-in Consent Forms for a collective action lawsuit involving      Administrator   Claimants
         alleged age-discrimination in the workplace.




© 2024                                                                                                                        21
             Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 38 of 49

                   Professional Service. Redefined.


Personal Injury Program Experience
                                 Personal Injury Settlement Programs
                                                                                                                Program       Settlement
                                 Program Description                                              Role
                                                                                                                  Size           Fund
         Sterigenics Ethylene Oxide Settlement. BrownGreer serves as claims and                  Claims
                                                                                                                    870
 1.      QSF administrator in a settlement resolving personal injury claims related to a        and QSF                        $408 million
                                                                                                                 Claimants
         medical equipment sterilization facility in Willowbrook, Illinois.                   Administrator

         Gree Deferred Prosecution Agreement. BrownGreer serves as Special
         Master overseeing the deferred prosecution agreement between Gree USA                  Special          Claimants
 2.      Inc. and the Department of Justice to resolve allegations that the company           Master; Claims       To Be      Fund Uncapped
         knowingly sold fire-prone dehumidifiers. This work includes resolving and            Administration    Determined
         paying claims from appliance owners.

         National Opioid Settlement. BrownGreer established the web portal and
         payment system that ensures states and subdivisions receive settlement                                   3,000
                                                                                                Directing
 3.      funds from the 2022 “Big Three” opioid distributor settlement. The 18-year                             States and      $26 Billion
                                                                                              Administrator
         project requires continuous coordination with thousands of state and local                             Localities
         government officials nationwide.

         Oxnard Train Derailment Settlement. Served as claims administrator for
                                                                                                 Claims              37
 4.      a program that resolved injury claims relating to a 2015 passenger train                                               $61 Million
                                                                                                Processor        Claimants
         incident in California.

                                                                                                                  Approx.
                                                                                                                    2,000
         JUUL Government Entity, Tribal, and Personal Injury Settlements. A 2022
                                                                                                                government
         agreement was reached between the makers of JUUL and government                       Settlement                         Not yet
 5.                                                                                                               entities,
         entities, Native American tribes, and personal injury claimants to resolve           Administrator                      disclosed
                                                                                                                   10,000
         claims that it deceptively marketed e-cigarettes to youths.
                                                                                                                 individual
                                                                                                                 claimants

                                                                                               QSF Trustee;       Approx.
                                                                                                                               Approx. $70
 6.      Confidential. Settlement involving sexual abuse claims.                              Lien Resolution      5,000
                                                                                                                                 million
                                                                                               Administrator     claimants

                                                                                                Design the
         Porter Ranch Private Party Claims Settlement Program. Private settlement                  share
                                                                                                                 36,000
 7.      to resolve claims arising from the October 23, 2015 gas leak from a storage            allocation                      $1.6 Billion
                                                                                                                Claimants
         well at the Aliso Canyon natural gas storage facility in Porter Ranch, California.   protocol; Claim
                                                                                                Processor

                                                                                                Design the
         One October Settlement Fund. Private settlement to resolve claims arising                 share
                                                                                                                  4,300
 8.      from the October 1, 2017 mass shooting at the Route 91 Harvest Festival in             allocation                     $800 Million
                                                                                                                Claimants
         Las Vegas, Nevada.                                                                   protocol; Claim
                                                                                                Processor

         In re National Football League Players’ Concussion Injury Litigation, MDL                                            Fund Uncapped;
                                                                                                Claims           20,571
 9.      Docket No. 2323 (E.D. Pa). Class action settlement to resolve claims by                                                $1.14 Billion
                                                                                              Administrator     Claimants
         retired National Football League players relating to repetitive head impacts.                                          Disbursed

         Catholic Diocese of Richmond Independent Reconciliation Program.
                                                                                                Claims              68
 10.     Private Settlement to resolve sexual abuse claims in the Richmond Catholic                                             $6.3 Million
                                                                                              Administrator     Claimants
         Diocese.




© 2024                                                                                                                                        22
             Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 39 of 49

                   Professional Service. Redefined.

                                Personal Injury Settlement Programs
                                                                                                           Program      Settlement
                                Program Description                                         Role
                                                                                                             Size          Fund
         Trafigura. Expert consultant to evaluate feasibility of claims administration   Lynn C. Greer
         program arising from a toxic spill in the Ivory Coast of Africa, evaluating                         Not
 11.                                                                                       Expert                       Not Applicable
         hurdles of corruption, fraud, identity verification, payment and                                  Applicable
         communication difficulties.                                                      Consultant

         In re Vioxx Products Liability Litigation, MDL Docket No. 1657 (E.D. La.).
                                                                                           Claims           60,000
 12.     Voluntary settlement program to resolve claims arising from the use of                                          $4.85 Billion
                                                                                         Administrator     Claimants
         prescription painkillers.

                                                                                         Liaison for the
         In re Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Products
                                                                                          Defendant to     600,000
 13.     Liability Litigation, MDL Docket No. 1203 (E.D. Pa.). Class action                                              $3.55 Billion
                                                                                         the Settlement    Claimants
         settlement to resolve claims arising from the use of “Fen-Phen” diet drugs.
                                                                                              Trust

         In re A.H. Robins Company Inc., Debtor (In re Dalkon Shield Claimants
                                                                                         Counsel to the
         Trust), MDL Docket No. 211 (Bankr. E.D. Va.). Settlement program created                          400,000
 14.                                                                                      Settlement                       $3 Billion
         in the Chapter 11 bankruptcy proceeding of the A.H. Robins Company to                             Claimants
                                                                                            Trust
         resolve claims arising from use of the Dalkon Shield intrauterine device.

         In re DePuy Orthopaedics, Inc., ASR Hip Implant Products, MDL Docket No.
                                                                                           Claims            9,300
 15.     2197 (N.D. Ohio). Voluntary settlement program for claims relating to metal-                                     $2.8 Billion
                                                                                         Administrator     Claimants
         on-metal hip implant devices.

         In re Diet Drugs (Phentermine/Fenfluramine/ Dexfenfluramine) Products
         Liability Litigation, MDL Docket No. 1203 (E.D. Pa.). Voluntary settlement        Claims           66,000
 16.                                                                                                                     $2.63 Billion
         program to resolve opt outs from the class action settlement of claims          Administrator     Claimants
         arising from use of “Fen-Phen” diet drugs.

         In re Actos (Pioglitazone) Products Liability Litigation, MDL Docket No.
                                                                                           Claims           10,800
 17.     2299 (W.D. La). Voluntary settlement program to resolve claims arising from                                     $2.37 Billion
                                                                                         Administrator     Claimants
         the use of a diabetes medication.

                                                                                                                        Fund Uncapped;
         Confidential. Voluntary settlement program of claims arising from the use of      Claims           12,000
 18.                                                                                                                      $1.4 Billion
         a prescription medication.                                                      Administrator     Claimants
                                                                                                                          Disbursed

         In re Sulzer Orthopedics and Knee Prosthesis Products Liability
                                                                                           Claims           27,000
 19.     Litigation, MDL Docket No. 1401 (N.D. Ohio). Class action settlement of                                          $1.15 Billion
                                                                                         Administrator     Claimants
         claims relating to hip and knee implants.

                                                                                                                        Fund Uncapped;
         Confidential. Voluntary settlement program of claims arising from the use of      Claims            2,700
 20.                                                                                                                      $279 Million
         a prescription medication.                                                      Administrator     Claimants
                                                                                                                           Disbursed

         In re Xarelto® Litigation Settlement Program. Private settlement to resolve       Claims
 21.                                                                                                        33,000       $775 Million
         cases arising out of the use of a prescription blood thinner.                   Administrator

         In re Pradaxa (Dabigatran Etexilate) Products Liability Litigation, MDL
                                                                                           Claims            4,800
 22.     Docket No. 2385 (S.D. Illinois). Voluntary settlement program to resolve                                        $650 Million
                                                                                         Administrator     Claimants
         claims arising from the use of a blood thinning medication.

         In re Benicar (Olmesartan) Products Liability Litigation, MDL No. 2606
                                                                                           Claims            8,500
 23.     (N.J.). Voluntary settlement program to resolve claims arising from the use                                     $358 Million
                                                                                         Administrator     Claimants
         of prescription hypertension medication.

         In re Wright Medical Technology, Inc., Conserve Hip Implant Products
         Liability Litigation, MDL Docket No. 2329, (N.D. Ga.). Private settlement         Claims            1,233
 24.                                                                                                                     $249 Million
         program established to resolve claims related to CONSERVE®, DYNASTY®,           Administrator     Claimants
         and LINEAGE® metal-on-metal hip replacement devices.



© 2024                                                                                                                                  23
             Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 40 of 49

                   Professional Service. Redefined.


                                 Personal Injury Settlement Programs
                                                                                                         Program     Settlement
                                 Program Description                                        Role
                                                                                                           Size         Fund
         In re Reglan®/Metoclopramide Mass Tort Litigation, No. 01997
         (Philadelphia County Ct. of C.P.); In re Reglan® Litigation, Case No.
                                                                                          Notice and
         ATL-L-3865-10 (Super Ct. NJ); Reglan®/Metoclopramide Cases, CJC-10-                               5,263
 25.                                                                                       Claims                     $240 Million
         004631 (Cal. Super Ct.). Private settlement program consolidating PA, NJ,                       Claimants
                                                                                         Administrator
         and CA class action settlements to resolve claims arising out of the use of a
         prescription medication.

         In re Guidant Implantable Defibrillators Products Liability Litigation
                                                                                           Advised
         Settlement, MDL Docket No. 1708 (D. Minn.). Voluntary settlement                                 26,000
                                                                                          Defendant
 26.     program to resolve claims related to a medical device company’s cardiac                           Class      $240 Million
                                                                                         and Defense
         resynchronization therapy devices, implantable cardiac defibrillators and                       Members
                                                                                           Counsel
         pacemakers.

         In re Nuvaring Products Liability Litigation, MDL Docket No. 1964 (W.D.
                                                                                           Claims          3,800
 27.     Mo.). Voluntary settlement program to resolve claims related to the use of a                                 $100 Million
                                                                                         Administrator   Claimants
         contraceptive device.

         In re Abilify (Aripiprazole) Products Liability Litigation, MDL No. 2734
                                                                                           Claims          3,955
 28.     Settlement Program. Private settlement program to resolve cases arising                                      $60 Million
                                                                                         Administrator   Claimants
         out of the use of a prescription medication.

         In re Phenylpropanolamine (PPA) Products Liability Litigation, MDL
                                                                                           Claims           500
 29.     Docket No. 1407 (W.D. Wash.). Class action settlement trust established to                                   $60 Million
                                                                                         Administrator   Claimants
         resolve claims related to an over-the-counter weight loss product.

         In re Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and
         Products Liability Litigation, MDL Docket No. 2100 (S.D. Ill.). Private
         voluntary settlement program to resolve claims alleging an arterial
                                                                                           Claims          1,275
 30.     thromboembolism (“ATE”), either alone or in combination with some other                                      $57 Million
                                                                                         Administrator   Claimants
         injury, resulting from the use of drospirenone-containing oral contraceptives
         manufactured by Bayer or marketed by Barr Laboratories, Inc., or Teva
         Pharmaceuticals USA, Inc.

         In re Yasmin and YAZ (Drospirenone) Marketing, Sales Practices and
         Products Liability Litigation, MDL Docket No. 2100 (S.D. Ill.). Private
                                                                                           Claims          9,000
 31.     settlement program to resolve claims alleging gallbladder disease                                            $24 Million
                                                                                         Administrator   Claimants
         or a gallbladder injury from the use of drospirenone-containing oral
         contraceptives manufactured by Bayer or marketed by BarrTeva.

         In re OxyContin Litigation - All Cases, No. 2002-CP-18-1756 (Cir. Ct.            Notice and      3,600
 32.     Dorchester County, S.C.). Class action settlement by a pharmaceutical             Claims         Class       $4.25 Million
         company regarding a prescription pain killer.                                   Administrator   Members

         Confidential. Private Settlement to resolve cases arising out of the use of a     Claims           Not
 33.                                                                                                                 Not Disclosed
         male-oriented hair coloring product designed to cover grey hair.                Administrator   Disclosed

                                                                                           Special
         In re Seroquel Products Liability Litigation, MDL Docket No. 1769
                                                                                           Master;          Not
 34.     (M.D. Fla.). Multidistrict litigation proceedings involving the antipsychotic                               Not Applicable
                                                                                           Project       Disclosed
         prescription drug Seroquel.
                                                                                           Manager

         In re Pittsburgh Corning Corporation, No. 00-22876-TPA (Bankr. W.D.
                                                                                                          2,272
         Pa.). Class action settlement to resolve personal injury claims relating to       Notice
 35.                                                                                                      Class      Not Applicable
         exposure to asbestos made by refinery and chemical plant workers with           Administrator
                                                                                                         Members
         individual asbestos cases pending in the Eastern District of Texas.




© 2024                                                                                                                           24
               Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 41 of 49

                    Professional Service. Redefined.


Our Founders
 Orran L. Brown
                          O    rran develops and implements the best practices and strategies for the negotiation and drafting
                               of resolution plans, legal proceedings to obtain court approval, the efficient design and
                          operation of group claims facilities and compliance with the agreements and court orders governing
                          the claims resolution process to provide a program a successful start and timely and efficient
                          progress to a successful completion.
                           Orran is respected by lawyers for claimants and the defense, courts, and claimants as
                           knowledgeable, efficient, fair, and in tune with their needs. He has helped guide the implementation
                           of extremely complex programs, and knows how to design and put in place allocation and
                           evaluation criteria that uniformly and equitably deliver benefits to those entitled to receive them,
                           while keeping administrative costs as low as possible. He believes that these programs cannot be
                           bureaucratic or impenetrable, or even appear to be. Instead, they serve the needs of the parties and
 the court, which leads to successful outcomes. His work on the $800 million One October Settlement Fund for the victims of
 the mass shooting in 2017 at the Route 91 concert in Las Vegas is an example of how his experience, creativity, and diligence
 can be brought to bear on a complicated, emotionally difficult program.


 Lynn Crowder Greer
                          L    ynn has served in mass claims resolution for 30 years, advising management, trustees, claims
                               administrators and corporations on the successful implementation and administration of
                           resolution plans. She began specializing in this area of the law in 1990, when she joined the in-
                           house legal department of Dalkon Shield Claimants Trust, an entity created pursuant to the A.H.
                           Robins bankruptcy to process claims of women injured by the Dalkon Shield intrauterine device.
                           Lynn became the Manager of the Trust’s legal department and ultimately rose to General Counsel
                           and Executive Director, developing and implementing policies and processes that handle these
                           deeply personal injury claims with accuracy and sensitivity, while achieving finality. The finite fund
                           set aside to pay the claims was managed so successfully, that the Trust made four additional pro rata
                           payments to women as claims were processed and concluded.
                            Since the Trust’s closure in 2000, Lynn has focused her professional career on meeting the unique
                            needs of clients or Courts involved in or faced with multiple claims or lawsuits. Recognizing the
 need to bring order to the chaos that arises when numerous claims are filed against a defendant, she and Orran Brown
 founded BrownGreer PLC in 2002 to provide different and innovative solutions for managing such situations. Since then,
 BrownGreer has been involved in some of the largest and most complex claims resolution programs in history, processing
 over 4.3 million claims filed by nearly 40,000,000 class members and paying over $34 billion to qualified claimants.
 Lynn has been appointed by Courts to serve as Special Master, Claims Administrator and other leadership positions
 in national settlement programs such as the Chinese Drywall class action litigation and the BP Oil Spill program as it
 transitioned from an emergency fund to a certified class action settlement. She has also acted as the head of the Project
 Management Office for a major client defending a pharmaceutical action and has served as a consultant in an international
 matter opining on the feasibility of a claims administration program. In each of BrownGreer’s engagements, Lynn lends her
 expertise and is a hands-on participant, working with and serving all of the program’s constituents and ensuring its successful
 development, administration and conclusion. Her unique combination of legal, administrative, communication, leadership,
 and personal skills render her equally comfortable presenting to a supervisory Federal District Court, reporting to executive
 management at a Fortune 500 company, facilitating and leading a conference call among the parties to a settlement
 agreement, speaking with claimants, mentoring her internal team members, participating in panel discussions on claims
 administration best practices, or working behind the scenes to draft protocols or process flows. Her sole focus on multiple
 claims resolution for almost three-decades, as well as her vast and unique experience make her a leader in the industry.


   © 2024                                                                                                                   25
Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 42 of 49




        B   rownGreer is redefining multiple claim resolution
            and litigation management with industry-leading
        technology and expert strategies to resolve your
        multiple claims and data management challenges with
        uncompromising accuracy and efficiency.




                         BrownGreer plc
                          250 Rocketts Way
                        Richmond, VA 23231
                   information@browngreer.com
                           (804) 521-7200
                       www.BrownGreer.com

                        © 2024 BrownGreer PLC




                                                                      FO-135-05-07-2024
    Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 43 of 49




                         Exhibit 3:

Notice of Proposed Class Action Settlement
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 44 of 49

                 NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
 In re Philips Recalled CPAP, BI-LEVEL PAP, and Mechanical Ventilator Products Litigation,
                                  No. 21-mc-1230, MDL 3014
       U NITED STATES D ISTRICT COURT FOR THE WESTERN D ISTRICT OF PENNSYLVANIA
             A court authorized this Notice. This is not a solicitation from a lawyer.


                       Para la notificación en Espanol, visite el sitio web
                      www.RespironicsMedicalAdvancementProgram.com


  If you used a Philips Respironics CPAP, BiPAP or Ventilator that was recalled, you will
receive Medical Advancement Program Benefits from a proposed class action settlement of
                 Medical Monitoring Claims if the settlement is approved.
● A proposed Settlement has been reached in a federal class action lawsuit that seeks to resolve
  Medical Monitoring Claims relating to certain CPAPs, BiPAPs, and ventilators that were
  recalled by Philips Respironics beginning in June 2021 (the “Recalled Devices”). These
  devices were sold in the U.S. between 2008 and 2021. The benefits of the Settlement are
  summarized in the Q&A section below.
● You are included in the proposed Settlement if you are a U.S. citizen or resident (including its
  Territories and the District of Columbia) who has used a Recalled Device.
● Your legal rights are affected by the proposed Settlement even if you do nothing. If the
  proposed Settlement is approved, you will be able to receive the Medical Advancement
  Program Benefits provided by the Settlement for 15 years, and you will release your Medical
  Monitoring Claims on the terms set forth in the Settlement. The Settlement does not affect or
  release any claims for personal injuries relating to the Recalled Devices.
● This Settlement is also separate from the settlement and release of Economic Loss Claims
  relating to the Recalled Devices. The Court recently granted final approval of the Economic
  Loss Settlement.
● Your rights and the deadline to exercise them are summarized in this notice. Please read
  this entire notice carefully. More details concerning the full Settlement Agreement, and other
  relevant documents, are available at www.RespironicsMedicalAdvancementProgram.com.
● Please note that this is a non-opt out Settlement, meaning you do not have the right to opt out
  or request exclusion from the Settlement Class. But you do have the right to object to the
  Settlement, if you wish.
● Capitalized terms in this Notice have the same meaning as defined in the Settlement
  Agreement.
    YOUR LEGAL RIGHTS AND OPTIONS IN THIS PROPOSED SETTLEMENT
 Object to      If you object to the proposed Settlement, you must mail       Your objection
 the            your objection to the Notice Administrator by the             must be
 Settlement     Objection Deadline. Failure to meet the deadline will         postmarked on or
                render your objection invalid and waived.                     before [INSERT
                   • Go to                                                    Objection
                     www.RespironicsMedicalAdvancementProgram.com             Deadline]
                     for more information on how to make a valid
                     objection to the Settlement.
       Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 45 of 49

 Go to a        If you wish to speak in Court regarding an objection that    Your request to
 Hearing        you have submitted, you must submit a timely written         appear at the
                request to the Notice Administrator.                         hearing must be
                                                                             postmarked on or
                                                                             before [INSERT
                                                                             Objection
                                                                             Deadline]
 Do Nothing     You do not have to do anything to benefit from the           None
                Settlement. If the Settlement becomes Final, you will not
                be able to sue the Philips Defendants or any of the
                Released Parties for the Medical Monitoring Claims, as
                defined in the Settlement Agreement.

Why am I receiving this Notice?

A Court authorized this Notice to U.S. citizens or residents who have used one or more of the
following CPAP, BiPAP, or ventilator devices recalled by Philips Respironics: System One 50
Series ASV4 (Auto SV4); System One 50 Series Base; System One 50 Series BiPAP; System One
60 Series ASV4 (Auto SV4); System One 60 Series Base; System One 60 Series BiPAP; C-series
S/T, AVAPS (C-series and C-series HT); DreamStation CPAP; DreamStation ASV; DreamStation
ST, AVAPS; DreamStation BiPAP; DreamStation Go; E30; OmniLab Advanced Plus; Trilogy
100/200, Garbin Plus, Aeris LifeVent; V30 auto.

What are the Settlement Benefits?

The Philips Defendants have agreed to pay $25 million into a Settlement Fund, and they shall not
be entitled to a return of the Settlement Payment if the Settlement is approved and becomes Final.
The Settlement Fund will be used to create Medical Advancement Program Benefits for Settlement
Class Members for a period of 15 years, which will consist of:

   •    Funding independent medical research which will contribute to the advancement of public
        knowledge and education with respect to the detection, diagnosis, and/or treatment of
        Qualifying Injuries;

   •    Establishing a research registry for Settlement Class Members to which they can elect to
        submit authorizations for the release and disclosure of medical information protected by
        HIPAA, 45 CFR § 164.508, for purposes of review and evaluation in connection with the
        research related to the Qualifying Injuries;

   •    Establishing and maintaining an interactive website for Settlement Class Members to
        access the current medical information and guidance regarding the long-term health effects,
        if any, of use of the Recalled Devices (“Relevant Medical Information and Guidance”);
        and

   •    Periodically posting on the Settlement Website and disseminating to Settlement Class
        Members who register to receive notifications of the Relevant Medical Information and
        Guidance, which will be provided in a user-friendly format for affected individuals who do
        not have a medical or scientific background.

No payments will be made to Settlement Class Members under the Settlement.
       Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 46 of 49

The Court in charge of this case still has to decide whether to approve the proposed Settlement.
The Medical Advancement Program Benefits for Settlement Class Members will be provided if
the Court approves the proposed Settlement, and after any appeals are resolved in favor of
upholding the Settlement. This process can take time. Please be patient. You do not need to do
anything or fill out any forms in order to be able to receive the Medical Advancement Program
Benefits.

What are the Qualifying Injuries?

One of the Medical Advancement Program Benefits that will be created by the Settlement Fund
will be the funding of medical research related to the detection, diagnosis, and/or treatment of
Qualifying Injuries. The Qualifying Injuries that may be the subject of this research include:

   •    Respiratory illnesses, such as asthma, chronic obstructive pulmonary disease (COPD),
        chronic bronchitis, bronchiectasis, sarcoidosis, acute respiratory distress syndrome,
        reactive airways dysfunction syndrome, pulmonary fibrosis, other interstitial lung disease,
        pneumonitis, and other restrictive or obstructive lung diseases;

   •    Certain mouth, nose, and throat cancers, such as, oral cavity cancers, oropharynx cancer,
        nasal cavity/sinus cancer, nasopharynx cancer, larynx cancer, hypopharynx cancer,
        salivary cancer, certain upper- and mid-esophageal cancers, certain limited thyroid cancers;

   •    Lung cancer; and

   •    Specific blood cancers, i.e., acute myeloid leukemia (AML), chronic myeloid leukemia
        (CML), mucosa associated lymphoid tissue (MALT) originating in the air-pathway
        lymphoid tissue.

What are My Options?

You do not have the right to opt out of, or otherwise request exclusion from, the Settlement.

However, you may Object to the Settlement or to the request for attorneys’ fees, reimbursement
of costs and expenses, and service awards by [INSERT Objection Deadline]. Failure to timely
and properly Object by the Objection Deadline will render your objection invalid and
waived. Please visit www.RespironicsMedicalAdvancementProgram.com for more information
on how to Object to the Settlement. If you submit an objection, and would like to speak in Court
regarding your objection, you may submit a written request to the Notice Administrator to appear
at the Final Approval Hearing. Your request to appear must be post-marked by [INSERT Objection
Deadline].

If you Do Nothing and the Settlement becomes Final, then you will automatically be permitted
to benefit from, and be legally bound by, the terms of the Settlement, and you will release your
Medical Monitoring Claims against the Philips Defendants and the other Released Parties.

What are the Medical Monitoring Claims being given up if the Settlement is approved?

The Medical Monitoring Claims consist of any claims or relief for medical monitoring that were
asserted or alleged, or could have been asserted or alleged, in the litigation, including the claims
alleged and the relief sought in the Medical Monitoring Complaint for (a) non-monetary relief,
including injunctive relief and/or specific performance, or (b) monetary relief, but only to the
extent such monetary relief claims are brought, or relief is sought, as a representative or member
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 47 of 49

of any class of claimants in a class action, or through any other form of aggregate, group, or mass
action.

Medical Monitoring Claims do not include individual claims for monetary relief for medical
monitoring arising from use of the Recalled Devices. However, Medical Monitoring Claims do
include individual claims for non-monetary relief, including injunctive relief and/or specific
performance.

Details regarding the Release are in Section 4 of the Settlement Agreement, which can be viewed
at www.RespironicsMedicalAdvancementProgram.com.

Do I have a Lawyer for these Medical Monitoring Claims?

Yes. The Court appointed the following lawyers to represent you and the other Settlement Class
Members: Christopher A. Seeger of Seeger Weiss LLP; Sandra L. Duggan of Levin Sedran &
Berman LLP; Steven A. Schwartz of Chimicles Schwartz Kriner & Donaldson-Smith LLP; Kelly
K. Iverson of Lynch Carpenter, LLP; and Roberta D. Liebenberg of Fine, Kaplan and Black, R.P.C.

These firms are called Settlement Class Counsel. You will not be charged for their services. They
will be seeking attorneys’ fees, reimbursement of costs and expenses, and service awards totaling
up to 20% of the $25 million Settlement Fund, and their motion will be posted on the Settlement
website.

The Court’s Final Approval Hearing.

The Court will hold a Final Approval Hearing on ____________, 2024 at ____m., in Courtroom
5A of the Joseph F. Weis, Jr. U.S. Courthouse, 700 Grant Street, Pittsburgh, PA 15219.

At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate.
If there are objections, the Court will consider them. The Court will listen to Objectors who have
timely and properly asked to speak at the hearing. The Court will then decide whether to approve
the Settlement.

The Court will also decide how much should be awarded with respect to the motion for attorneys’
fees, reimbursement of costs and expenses, and service awards that will be filed by Settlement
Class Counsel.

The Court may reschedule the Final Approval Hearing or change any of the deadlines described
in this Notice. Be sure to check the website, www.RespironicsMedicalAdvancementProgram.com,
for news of any such changes.

     For more information, visit www.RespironicsMedicalAdvancementProgram.com.
Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 48 of 49




                       Exhibit 4:

         DreamMapper App Notice
     Case 2:21-mc-01230-JFC Document 2767-3 Filed 05/09/24 Page 49 of 49




DreamMapper Message:

For information on the U.S. settlement of Medical Monitoring Claims, visit
www.RespironicsMedicalAdvancementProgram.com
